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 Via ECF

 December 13, 2023


 Hon. Nusrat J. Choudhury
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722


 Re: Clarke et al. v. ALAA et al., Case No. 2:23-cv-08869 (NJC) (ARL)


 Dear Judge Choudhury:

         We write on behalf of Plaintiffs in the above-referenced case. We appreciate the Court’s
 granting of Plaintiffs’ request for an extension of time to respond to Defendants’ Motion to
 Dissolve the TRO and rescheduling the hearing to December 15, 2023 at 10:00 a.m. In light of
 the Court’s explanation in the same December 12, 2023 Order (ECF No. 20) that the TRO
 currently in place will expire on December 15, 2023 unless the Court orders otherwise, we write
 for the sake of clarity to note that Plaintiffs will respectfully request at the December 15 hearing
 and through their filing today that the status quo be maintained in the form of a preliminary
 injunction.

                                                                                                   Respectfully submitted,

                                                                                                   /s/ Jeffrey D. Hoschander
                                                                                                       Jeffrey D. Hoschander

 Cc: All Counsel (via ECF)




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